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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
WILLIE M. BUTLER,                                                      :
                                                                       :
                                    Plaintiff,                         :    20 Civ. 10044 (JPC)
                                                                       :
                  -v-                                                  :         ORDER
                                                                       :
UNITED STATES OF AMERICA et al.,                                       :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        The Court will conduct a bench trial beginning on January 17, 2023. The parties must

familiarize themselves with the Court’s Individual Rules and Practices for Civil Cases, available at

https://www.nysd.uscourts.gov/hon-john-pcronan. By December 6, 2022, the parties shall file a

proposed joint pretrial order and all other required pretrial filings, including any motions in limine,

in accordance with 7.B and 7.D-E of the Court’s Individual Rules and Practices in Civil Cases. Any

opposition to a motion in limine shall be filed by December 13, 2022. The parties shall submit

courtesy copies in accordance with 7.F of the Court’s Individual Rules and Practices in Civil Cases

by January 10, 2023. Furthermore, the parties shall appear for a final pretrial conference on January

10, 2023, at 9:30 a.m. in Courtroom 12D of the Daniel Patrick Moynihan United States Courthouse,

500 Pearl Street, New York, NY 10007. The final pretrial conference must be attended by the

attorney who will serve as principal trial counsel.


        SO ORDERED.

Dated: July 7, 2022                                        __________________________________
       New York, New York                                            JOHN P. CRONAN
                                                                 United States District Judge
